                           IN THE UNITED STATES COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 TEXAS TRIBUNE, MANO AMIGA, and                    §
 CALDWELL/HAYS EXAMINER,                           §
 Plaintiffs,                                       §
                                                   §
 v.                                                §
                                                   §
 CALDWELL COUNTY, TEXAS, TREY                      §       Civil Action No. 1:23-cv-910
 HICKS, in his official capacity as Caldwell       §
 County Court at Law Judge and Caldwell            §
 County Magistrate,                                §
                                                   §
 MATT KIELY, SHANNA CONLEY,                        §
 ANITA DELEON, and YVETTE MIRELES,                 §
 in their official capacities as Caldwell County   §
 Justices of the Peace and Caldwell County         §
 Magistrates, and                                  §
                                                   §
 MIKE LANE, in his official capacity as the        §
 Sheriff of Caldwell County,                       §
 Defendants.                                       §

                       DEFENDANTS’ ORIGINAL ANSWER TO
                    PLAINTIFFS’ COMPLAINT FOR DECLARATORY
                             AND INJUNCTIVE RELIEF

TO THE HONORABLE JUDGE OF UNITED STATES DISTRICT COURT:

       Defendants Caldwell County, Texas, the Honorable Trey Hicks, in his official capacity as

Caldwell County Court at Law Judge and Caldwell County Magistrate, the Honorable Matty Kiely,

the Honorable Shanna Conley, the Honorable Anita DeLeon, and the Honorable Yvette Mireles,

in their official capacities as Caldwell County Justices of the Peace and Caldwell County

Magistrates, and the Honorable Mike Lane, in his official capacity as the Sheriff of Caldwell

County, (hereinafter “Defendants”) file this Original Answer to Plaintiffs’ Complaint for

Declaratory and Injunctive Relief and in support thereof would show the Court as follows:




Defendants’ Original Answer                                                                 Page 1
                                           I.      Answer

1.     Pursuant to Rule 8(b), Federal Rules of Civil Procedure, Defendants deny each and every

allegation contained in Plaintiffs’ Complaint for Declaratory and Injunctive Relief except those

expressly admitted herein.

2.     In regard to the allegations contained in Paragraph Nos. 1 through 8, such paragraphs

concerning introduction should not require a response from Defendants; however, Defendants

deny any allegations asserted against them in these paragraphs.

3.     Defendants admit that venue is proper in Paragraph Nos. 9 through 11, but deny the

remaining allegations therein, if any. Further, Plaintiffs have failed to state a claim upon which

relief can be granted and this Court may not have jurisdiction.

4.     In regard to the allegations contained in Paragraph Nos. 12 through 21, such paragraphs

identifying the parties require no response from Defendants; however, Defendants deny any

allegations asserted against them in these paragraphs.

5.     Defendants admit that the Texas Code of Criminal Procedure, Articles 15.17 and 14.06

provides that without unnecessary delay, but not later than 48 hours after the person is arrested,

the arresting officer shall have the person arrested taken before some magistrate. Further,

Defendants admit that Article 15.17 includes duties of the magistrate. Defendants deny any

remaining allegations asserted against them in these paragraphs.

6.     Defendants deny any allegations, if any, asserted against them in paragraphs Paragraph

Nos. 25 and 26.

7.     Defendants deny the allegations asserted against them in paragraphs Paragraph Nos. 27

through 31; Plaintiffs provide no constitutional or statutory authority for their allegations




Defendants’ Original Answer                                                                Page 2
concerning notice and access to view an arrested being taken before some magistrate by an

arresting law enforcement officer.

8.     Defendants deny any allegations, if any, asserted against them in these paragraphs

Paragraph Nos. 32 through 34; however, these paragraphs are identified as “Plaintiffs’ reasons for

seeking access to magistration.”

9.     Defendants deny the allegations asserted against them in paragraphs Paragraph Nos. 35

through 44; Plaintiffs provide no constitutional or statutory authority for their allegations

concerning notice and access to view an arrested being taken before some magistrate by an

arresting law enforcement officer.

10.    Further, Defendants deny that Plaintiffs have been harmed and/or are entitled to any of the

relief sought in this case in Paragraph Nos. 45 through 54 and the Prayer for Relief.

                                     II.          Affirmative Defenses

11.    Plaintiffs have failed to state a claim upon which relief can be granted.

12.    Defendants assert their entitlement to sovereign immunity for any claims in their official

 capacities and official immunity. Defendants assert all privileges and immunities available under

federal or state law. Specifically, Defendants assert their entitlement to judicial immunity, if

available.

13.    Finally, although Plaintiffs currently assert only claims against Defendants in their official

capacities, Defendants reserve the right to assert any entitlement to the defenses of qualified

immunity should any individual capacity claims be alleged.

                                           III.     Attorneys’ Fees

       This case is frivolous and wholly without merit. Defendants are entitled to an award of

attorney’s fees and costs.




Defendants’ Original Answer                                                                  Page 3
                                        IV.        Jury Demand


       Defendants demand a trial by jury.

                                              V.     Prayer

       For these reasons, Defendants pray that all relief requested by Plaintiffs be denied, and that

Defendants recover costs and attorney’s fees, along with such other relief to which it may show

Defendants are entitled.

                                               /s/ J. Eric Magee____________
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                                CERTIFICATE OF SERVICE
        I hereby certify that on this the 13th day of October 2023, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to each counsel of record listed below.
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                                          /s/ J. Eric Magee____________
                                          J. Eric Magee




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